Case 8:23-cv-00095-DOC-KES Document 1 Filed 01/13/23 Page 1 of 18 Page ID #:1



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    Products, Inc.
 13
                             UNITED STATES DISTRICT COURT
 14
                            CENTRAL DISTRICT OF CALIFORNIA
 15
 16
    PROTECTIVE INDUSTRIAL                             CASE NO. 2:23-cv-00265
 17 PRODUCTS, INC.,
                                                      COMPLAINT FOR TRADEMARK
 18                Plaintiff,                         INFRINGEMENT AND FALSE
                                                      DESIGNATION OF ORIGIN
 19         vs.
 20 BOSS INNOVATION & MARKETING,
    INC. d/b/a BOSS SAFETY PRODUCTS,                  JURY TRIAL DEMANDED
 21
                 Defendant.
 22
 23
 24         Plaintiff Protective Industrial Products, Inc. (“PIP” or “Plaintiff ”), for its complaint
 25 against Defendant BOSS Innovation & Marketing, Inc. d/b/a BOSS Safety Products (“BIM”
 26 or “Defendant”), alleges the following:
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 28

            COMPLAINT FOR TRADEMARK INFRINGEMENT AND FALSE DESIGNATION OF ORIGIN
Case 8:23-cv-00095-DOC-KES Document 1 Filed 01/13/23 Page 2 of 18 Page ID #:2




  1                                   NATURE OF THE ACTION
  2          1.     This is an action for trademark infringement and false designation of origin
  3 arising under the Lanham Act, 15 U.S.C. § 1051 et seq.
  4                                          THE PARTIES
  5          2.     PIP is a corporation organized under the laws of the State of New York, with
  6 a principal place of business at 25 British American Boulevard, Latham, NY 12110. In
  7 2019, PIP purchased Boss Manufacturing Company’s BOSS Glove and Safety business. PIP
  8 advertises and sells gloves under the “BOSS” brand that it acquired from Boss
  9 Manufacturing Company.
 10          3.     BIM is a corporation organized under the laws of the State of California, with
 11 a principal place of business at 30081 Comercio, Rancho Santa Margarita, CA 92688. BIM
 12 advertises and sells products under the “BOSS,” “BOSS Safety Products,” “BOSS Tactical
 13 Supplies,” “BOSS Emergency Preparedness,” and “BOSS StrongBox” brands.
 14          4.     BIM has promoted, marketed, and sold products in the United States that
 15 infringe on PIP’s trademarks.         More specifically, BIM promotes, markets, and sells
 16 infringing products throughout the United States, including in this judicial District, and
 17 distributes these infringing products in the stream of commerce knowing that they will be
 18 used in this judicial District and elsewhere in the United States. BIM also promotes,
 19 markets, and sells these products with a false designation of origin throughout the United
 20 States, including in this judicial District.
 21                                 JURISDICTION AND VENUE
 22          5.     This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and
 23 1338(a)-(b), and 15 U.S.C. § 1121.
 24          6.     This Court has personal jurisdiction over BIM because BIM has purposefully
 25 availed itself of the rights and benefits of the laws of this State and this District. Specifically,
 26 BIM has a principal place of business in this State and in this District. This Court also has
 27 personal jurisdiction over BIM because it has done and is doing substantial business in this
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             COMPLAINT FOR TRADEMARK INFRINGEMENT AND FALSE DESIGNATION OF ORIGIN
Case 8:23-cv-00095-DOC-KES Document 1 Filed 01/13/23 Page 3 of 18 Page ID #:3




  1 District, both generally and with respect to the allegations in this complaint, including BIM’s
  2 acts of infringement and false designation of origin.
  3         7.      Venue is proper in this District under 28 U.S.C. §§ 1391(b)-(c), as BIM (i) has
  4 committed acts of infringement and false designation of origin in this District, (ii) has a
  5 regular and established place of business in this District, and (iii) resides in this District.
  6                                         BACKGROUND
  7 I.      PIP’S “BOSS” MARKS
  8         8.      PIP has been involved in the personal protective equipment (“PPE”) industry
  9 since its founding in 1984 and is recognized as a global leader in that industry. PIP supplies
 10 a variety of PPE products, including gloves for hand and arm protection.
 11         9.      Boss Manufacturing Company is the oldest work glove company in the United
 12 States, and has been recognized as the preeminent leader in the work glove industry. For
 13 over a century, Boss Manufacturing Company has sold its gloves under its “BOSS” mark.
 14 With operations dating back to 1893, the “BOSS” mark has been used for and recognized as
 15 representing Boss Manufacturing Company’s work gloves nationally and internationally.
 16 Today, the “BOSS” mark can be found on some of the most popular work, garden, and sports
 17 gloves on the market, as well as a variety of boots, rainwear, and safety gear. The mark is
 18 iconic in its field.
 19         10.     PIP purchased the Boss Glove and Safety business, including the “BOSS”
 20 mark and related marks, from Boss Manufacturing Company in 2019. That purchase was
 21 driven in large part by the “BOSS” brand’s global recognition as a trusted and high-quality
 22 source of work gloves and PPE.
 23         11.     Since its acquisition of the Boss Glove and Safety business, PIP has diligently
 24 maintained the family of “BOSS” trademarks (the “BOSS® Marks”) registered by Boss
 25 Manufacturing Company to protect its brand. For example, PIP owns the “BOSS” mark for
 26 a variety of goods and services through marks registered under U.S. Registration Nos.
 27 1,974,576; 1,718,343; 1,146,594; 1,245,859; 1,221,513; 570,011; 210,819; 189,372; and
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            COMPLAINT FOR TRADEMARK INFRINGEMENT AND FALSE DESIGNATION OF ORIGIN
Case 8:23-cv-00095-DOC-KES Document 1 Filed 01/13/23 Page 4 of 18 Page ID #:4




  1 114,219. In particular, PIP owns and uses the “BOSS” mark for various types of gloves,
  2 including work gloves, ski gloves, driving gloves, bicycling gloves, golf gloves, archery
  3 gloves, shooting gloves, and snowmobiling gloves (U.S. Reg. Nos. 1,974,576; 1,718,343;
  4 570,011; 210,819; 189,372; and 114,219). Relatedly, PIP also owns trademarks for “WORK
  5 HARD. WEAR BOSS.” (U.S. Reg. No. 4,833,262); “BOSS THERM” (U.S. Reg. No.
  6 4,740,612); “BOSS HARVESTER” (U.S. Reg. No. 5,071,598); “BOSS TECH” (U.S. Reg.
  7 No. 4,229,060); “BOSS OUTDOORS” (U.S. Reg. No. 3,249,886); “BOSS EXTREME”
  8 (U.S. Reg. No. 2,743,904); “BOSS EXTREME SPORTS” (U.S. Reg. No. 2,823,787);
  9 “BOSS BOSS EXTREME” (U.S. Reg. No. 2,786,971); and “BOSS JUMBO” (U.S. Reg.
 10 No. 247,275). On information and belief, BIM has not—now or ever—opposed any of the
 11 BOSS® Marks.
 12         12.    As a result of Boss Manufacturing Company’s and PIP’s exclusive and
 13 extensive use of the BOSS® Marks—over more than 120 years combined—they have
 14 acquired great value and become widely known to the public and trade industry. They
 15 identify PIP exclusively and uniquely as the source of goods and services, including gloves,
 16 available under the “BOSS” brand.
 17         13.    Building on the century-old reputation of its “BOSS” brand, PIP widely
 18 promotes and sells gloves under that brand in the United States, including through its
 19 www.bossgloves.com website. As a result, the BOSS® Marks are well-known and have
 20 developed secondary meaning in the minds of the purchasing public. Indeed, the goods and
 21 services bearing relation to the BOSS® Marks are immediately identified by the purchasing
 22 public with PIP.
 23         14.    This secondary meaning communicates to the purchasing public that gloves
 24 and other PPE sold under any “BOSS” brand originate with PIP and are produced with the
 25 same high quality and standards that Boss Manufacturing Company has maintained for over
 26 a century. The secondary meaning, reputation, and goodwill earned by the “BOSS” brand
 27 helped drive PIP to acquire the BOSS Glove and Safety business from Boss Manufacturing
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            COMPLAINT FOR TRADEMARK INFRINGEMENT AND FALSE DESIGNATION OF ORIGIN
Case 8:23-cv-00095-DOC-KES Document 1 Filed 01/13/23 Page 5 of 18 Page ID #:5




  1 Company in 2019.
  2 II.     BIM WILLFULLY INFRINGES PIP’S BOSS® MARKS AND CAUSES
  3 CONFUSION ABOUT THE ORIGIN OF ITS PRODUCTS
  4         15.    BIM has willfully infringed PIP’s BOSS® Marks and has caused a substantial
  5 risk of consumer confusion about the origins of its products.
  6         16.    PIP owns the registration for the standalone “BOSS” mark (U.S. Reg. No.
  7 1,718,343). The mark is broad. It covers the use of the “BOSS” mark in all colors for
  8 various types of gloves. Accordingly, PIP’s “BOSS” mark appears in a variety of colors on
  9 its gloves, including white, blue, red, orange, and yellow.
 10         17.    BIM has knowingly built its business around PIP’s “BOSS” mark. Through
 11 its family of websites, BIM sells gloves and other PPE products—the products at the core
 12 of the PIP “BOSS” business—through brands such as “BOSS,” “BOSS Safety Products,”
 13 “BOSS Tactical Supplies,” “BOSS Emergency Preparedness,” and “BOSS StrongBox.”
 14         18.    The common link between all of BIM’s brands is PIP’s “BOSS” mark. BIM
 15 has designed its “BOSS” mark so that it appears very similar to PIP’s BOSS® Marks,
 16 including BIM’s use of a very similar style of boxy, capitalized font:
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 20               PIP’s “BOSS” Mark                          BIM’s “BOSS” Mark

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 22         19.    BIM advertises and sells gloves, strong boxes, safety equipment, and other
 23 PPE      through     a     family    of    websites,     including       www.bosssafety.com,
 24 www.bossemergencypreparedness.com, www.bossstrongbox.com, www.bosstactical.com,
 25 www.buycasesforless.com, and www.justsafetysigns.com. BIM provides links to these
 26 product websites through its company website, www.bossinno.com.
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            COMPLAINT FOR TRADEMARK INFRINGEMENT AND FALSE DESIGNATION OF ORIGIN
Case 8:23-cv-00095-DOC-KES Document 1 Filed 01/13/23 Page 6 of 18 Page ID #:6




  1         20.    Each of these websites emphasizes BIM’s use of “BOSS” as a standalone
  2 mark. While there may be descriptive words beneath the “BOSS” mark on BIM’s websites,
  3 as shown below, those descriptive words often appear in much smaller font so that customers
  4 remain focused on associating BIM’s websites and brands with “BOSS.”
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 11         21.    With      the     exception       of    www.buycasesforless.com         and
 12 www.justsafetysigns.com, all of BIM’s website URLs begin with “www.boss,” which
 13 further emphasizes BIM’s association with the “BOSS” mark. Customers are likely to
 14 believe that websites selling gloves and PPE products that begin with “www.boss”—
 15 including BIM’s websites and PIP’s www.bossgloves.com website—are all related.
 16         22.    Featured prominently on every page of most of BIM’s websites is a standalone
 17 “BOSS” mark. By placing the “BOSS” mark on its websites in that manner, BIM is
 18 misleading customers into believing that “BOSS” is the brand associated with the products
 19 being sold on BIM’s websites and that those products originate with the manufacturer of
 20 “BOSS” products.
 21         23.    By way of example, BIM uses the “PELICAN” mark on its
 22 www.buycasesforless.com website to indicate to customers that BIM is selling “PELICAN”-
 23 branded strong boxes that originated with Pelican Products, Inc. Similarly, as shown below,
 24 it places the “BOSS” mark in the exact same spot on its www.bosssafety.com website—a
 25 site dedicated to sales of PPE and gloves—misleading customers into believing that the
 26 gloves and other products sold on that website belong to the “BOSS” brand and originated
 27 with PIP.
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            COMPLAINT FOR TRADEMARK INFRINGEMENT AND FALSE DESIGNATION OF ORIGIN
Case 8:23-cv-00095-DOC-KES Document 1 Filed 01/13/23 Page 7 of 18 Page ID #:7




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 26        www.bosssafety.com

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 28        24.   Not only is BIM likely confusing customers into believing that BIM’s

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           COMPLAINT FOR TRADEMARK INFRINGEMENT AND FALSE DESIGNATION OF ORIGIN
Case 8:23-cv-00095-DOC-KES Document 1 Filed 01/13/23 Page 8 of 18 Page ID #:8




  1 products—such as the gloves sold on its websites—are manufactured and sold by PIP, it is
  2 likely confusing customers into believing that PIP’s gloves are manufactured and sold by
  3 BIM. Indeed, because PIP’s “BOSS” gloves have been the preeminent working glove brand
  4 for over 120 years, customers are likely to associate any gloves sold with a “BOSS” mark
  5 with PIP.
  6         25.   That risk of confusion is particularly acute because, in addition to the
  7 similarity between BIM’s “BOSS” mark and PIP’s BOSS® Marks, BIM’s brands and
  8 websites target the same customer base as PIP, which includes professionals in the
  9 healthcare, construction, and emergency responder industries.
 10         26.   BIM has capitalized on that risk of confusion and benefitted from the goodwill
 11 and reputation of PIP’s BOSS® Marks by selling products that compete directly with PIP’s
 12 gloves, to the same customers as PIP. That approach has been deliberate, and made in full
 13 knowledge of PIP’s BOSS® Marks.
 14         27.   For example, PIP and its predecessor-in-interest, Boss Manufacturing
 15 Company, have sold gloves on the www.bossgloves.com website under the “hand
 16 protection” category.
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                                  www.bossgloves.com
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           COMPLAINT FOR TRADEMARK INFRINGEMENT AND FALSE DESIGNATION OF ORIGIN
Case 8:23-cv-00095-DOC-KES Document 1 Filed 01/13/23 Page 9 of 18 Page ID #:9




  1         28.    On information and belief, in or around 2016, after being made aware of the
  2 PIP marks, BIM modified its www.bosssafety.com website to prominently add a BOSS
  3 “hand protection” rubric designed to drive sales of gloves.
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                                       www.bosssafety.com
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 17         29.    The results of Google searches confirm that BIM’s use of PIP’s BOSS® Marks
 18 is likely to confuse customers. For example, when searching Google for “boss gloves,”
 19 PIP’s    www.bossgloves.com       website   is       the   first   result.   But   BIM’s   website
 20 (www.bosssafety.com) follows closely among the top 10 results. It is likely that some
 21 customers will click the link to BIM’s website and be misled into believing that it is one of
 22 PIP’s websites or a website that sells PIP’s products.
 23         30.    Similarly, a review of Shopping results for a “boss safety products” Google
 24 search returns many of PIP’s “BOSS” branded gloves, as shown below. Some customers
 25 are therefore likely to believe that PIP’s “BOSS” gloves are part of the “BOSS Safety
 26 Products” company and website run by BIM.
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            COMPLAINT FOR TRADEMARK INFRINGEMENT AND FALSE DESIGNATION OF ORIGIN
Case 8:23-cv-00095-DOC-KES Document 1 Filed 01/13/23 Page 10 of 18 Page ID #:10




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             31.    While selling gloves and other products under the “BOSS” mark, BIM does
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       not own—and has never owned—marks that cover the standalone use of the “BOSS” mark
  18
       or the use of “BOSS” to advertise and sell gloves. Indeed, BIM has only two active
  19
       registered trademarks. These marks are both for the use of “BOSS STRONG BOX” (U.S.
  20
       Reg. Nos. 5,150,126 and 5,456,841) for lock boxes made of metal. Neither covers gloves
  21
       or other PPE products. While BIM once owned other marks—including two for “BOSS
  22
       SAFETY PRODUCTS” (U.S. Ser. Nos. 85,377,183 and 85,377,207)—those marks were
  23
       abandoned over a decade ago.
  24
             32.    As a result of BIM’s infringing activities, BIM is damaging PIP’s BOSS®
  25
       Marks by associating those marks with gloves and other products that are not manufactured
  26
       by PIP or with the same quality as PIP’s gloves.
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             COMPLAINT FOR TRADEMARK INFRINGEMENT AND FALSE DESIGNATION OF ORIGIN
Case 8:23-cv-00095-DOC-KES Document 1 Filed 01/13/23 Page 11 of 18 Page ID #:11




   1 III.    PIP PUTS BIM ON NOTICE OF ITS INFRINGMENT
   2         33.   BIM has known for over a decade that it is infringing PIP’s BOSS® Marks.
   3 Nevertheless, BIM has continued to advertise and sell gloves with the “BOSS” mark,
   4 knowing that it would likely confuse customers.
   5         34.   On April 15, 2011, Boss Manufacturing Company sent a cease-and-desist
   6 letter to BIM’s BOSS Safety Products company. Ex. 1. The April 15 letter explained that
   7 BIM’s use of the BOSS® Marks was a “clear violation of the trademark rights” of Boss
   8 Manufacturing Company and that BIM’s use of the marks would “inevitably result in
   9 customer confusion with actual and potential customers believing that the gloves and other
  10 disputed products sold by [BIM] in connection with the mark BOSS SAFETY PRODUCTS
  11 emanate from or are associated or affiliated with Boss Manufacturing.” Ex. 1 at 1-2.
  12         35.   The April 15 letter demanded that BIM “cease and desist from any further use
  13 of the trademark BOSS SAFETY PRODUCTS, or any other mark which includes the word
  14 BOSS, in connection with the sale of gloves and safety equipment.” Ex. 1 at 3. The April
  15 15 letter identified several BOSS® Marks owned by Boss Manufacturing Company at the
  16 time (and now owned by PIP) for various types of gloves, including marks under U.S.
  17 Registration Nos. 1,974,576, 1,718,343, 1,146,594, 1,245,859, 1,221,513, 570,011, 210,819,
  18 189,372, and 114,219. And the letter also identified other BOSS® Marks under U.S.
  19 Registration Nos. 3,249,886 (“BOSS OUTDOORS®”); 2,743,904 (“BOSS EXTREME®”);
  20 2,823,787 (“BOSS EXTREME SPORTS®”); 2,786,971 (“BOSS BOSS EXTREME®”);
  21 and 247,275 (“BOSS JUMBO®”).
  22         36.   BIM replied to the April 15 letter in a letter dated April 21, 2011. Ex. 2. BIM
  23 asserted that the marks it used were “distinct and dissimilar” but focused on minor
  24 differences in the competing marks, namely that its mark used all uppercase letters and
  25 different colors than PIP’s BOSS® Marks and incorporated a globe design. Ex. 2 at 2. BIM
  26 also asserted that there was no evidence of consumer confusion in the marketplace, and
  27 claimed—without any supporting evidence—that Boss Manufacturing Company’s “client
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             COMPLAINT FOR TRADEMARK INFRINGEMENT AND FALSE DESIGNATION OF ORIGIN
Case 8:23-cv-00095-DOC-KES Document 1 Filed 01/13/23 Page 12 of 18 Page ID #:12




   1 base and marketing channels used to sell the [Boss Manufacturing Company] products
   2 are dissimilar from those of [BIM].” Ex. 2 at 2-3 (emphasis added). Notably, BIM did not
   3 deny that there existed a potential for customer confusion, nor that it would be impossible
   4 for a customer to be confused by BIM’s use of PIP’s BOSS® Marks.
   5         37.    Boss Manufacturing Company replied to BIM’s April 21 letter in a letter dated
   6 September 15, 2011. Ex. 3. Boss Manufacturing Company noted that BIM’s actions flatly
   7 “contradict[ed] many of the arguments raised and facts asserted” in its April 21 letter. In
   8 particular, Boss Manufacturing Company revealed that shortly after sending its letter, BIM
   9 had promptly filed several trademark applications, Ex. 3 at 1, including one on August 4,
  10 2011 for the “BOSS SAFETY PRODUCTS” mark in connection with gloves. Ex. 3 at 1-2.
  11         38.    According to Boss Manufacturing Company, BIM’s trademark applications
  12 were “an admission that the mark Boss Safety Products is used on … gloves.” Ex. 3 at 2.
  13 Indeed, those trademark applications confirmed that BIM was not acting in good faith by
  14 continuing to use the BOSS® Marks.
  15         39.    Notwithstanding those exchanges, BIM continued to use the BOSS® Marks
  16 for over a decade, knowing it had no right to use those marks. It did nothing to change its
  17 websites or its product advertising to remove the infringing use of the BOSS® Marks and
  18 reduce the likelihood of customer confusion. If anything, BIM did the opposite. On
  19 information and belief, in or around 2016, and as noted above, it modified its
  20 www.bosssafety.com website to further conform its marketing to that of the Boss
  21 Manufacturing Company—increasing the risk of customer confusion.
  22         40.    After PIP acquired the BOSS Glove and Safety business, PIP sent another
  23 cease-and-desist letter to Mike Curtis, owner of BIM, on August 31, 2022. Ex. 4. That
  24 August 31 letter stated that BIM’s “use of PIP’s BOSS® trademark in connection with
  25 directly competing and related goods represents a clear and undeniable infringement of our
  26 client’s trademark rights.” Ex. 4 at 2. The August 31 letter noted that BIM’s infringing use
  27 of PIP’s BOSS® Marks “is particularly troubling because consumers will naturally associate
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             COMPLAINT FOR TRADEMARK INFRINGEMENT AND FALSE DESIGNATION OF ORIGIN
Case 8:23-cv-00095-DOC-KES Document 1 Filed 01/13/23 Page 13 of 18 Page ID #:13




   1 PIP’s actual products being sold via BIM retail channels with BIM’s infringing products,
   2 thus compounding the marketplace confusion.” Ex. 4 at 2-3. The August 31 letter then
   3 demanded that BIM “[i]mmediately cease any and all uses of the BOSS® trademark or any
   4 confusingly similar marks” and “[r]efrain from any similar acts or schemes involving the
   5 BOSS® mark in the future,” among other demands. Ex. 4 at 3.
   6         41.     BIM replied to PIP’s August 31 letter in a letter dated October 18, 2022. Ex.
   7 5. In that October 18 letter, BIM asserted that it was “simply an online retailer of a wide
   8 range of personal safety equipment and safety storage devices manufactured by industry
   9 leaders,” and that any gloves sold on its website “are not being sold as any private label
  10 brand of [BIM], but rather are third-party products bearing their own respective trademarks
  11 which are simply being resold through the www.bosssafety.com website.” Ex. 5 at 2.
  12 Tellingly, BIM did not deny the similarity between PIP’s BOSS® Marks and BIM’s
  13 “BOSS” mark. Nor did BIM deny the likelihood that customers would be confused into
  14 believing that BIM is selling PIP’s “BOSS” branded gloves.
  15         42.     Since PIP’s August 31 letter, BIM has continued to willfully infringe PIP’s
  16 BOSS® Marks and has refused to cease that infringement or ameliorate the customer
  17 confusion caused by its infringing activities. BIM’s continued failure to heed two rounds of
  18 cease-and-desist letters, the trademark applications it filed after receiving the initial April
  19 15, 2011 cease-and-desist letter, and its ongoing use of its “BOSS” brand, all demonstrate
  20 BIM’s bad faith in its continued willful infringement of PIP’s BOSS® Marks.
  21               COUNT I – TRADEMARK INFRINGEMENT (15 U.S.C. § 1114)
  22         43.     The allegations set forth in the foregoing paragraphs 1 through 42 are
  23 incorporated into this First Claim for Relief.
  24         44.     PIP is the owner of the United States trademark registrations for its BOSS®
  25 Marks—U.S. Registration Nos. 4,833,262; 4,740,612; 5,071,598; 4,229,060; 3,249,886;
  26 2,743,904; 2,823,787; 2,786,971; 1,974,576; 1,718,343; 1,146,594; 1,245,859; 1,221,513;
  27 570,011; 247,275; 210,819; 189,372; and 114,219—all of which are valid, subsisting, and
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             COMPLAINT FOR TRADEMARK INFRINGEMENT AND FALSE DESIGNATION OF ORIGIN
Case 8:23-cv-00095-DOC-KES Document 1 Filed 01/13/23 Page 14 of 18 Page ID #:14




   1 incontestable. Copies of the certificates of registration for U.S. Registration Nos. 114,219;
   2 189,372; 210,819; 570,011; 1,221,513; 1,245,859; 1,146,594; 1,718,343; and 1,974,576 are
   3 attached hereto as Exhibits 6-14. PIP’s BOSS® Marks have acquired secondary meaning
   4 with customers and the industry and are associated with PIP, its brand, its products, and the
   5 quality of its products.
   6         45.    BIM’s actions, described above, constitute unauthorized use in commerce of
   7 a registered trademark in connection with the sale and advertising of goods. Such use is
   8 likely to cause confusion or to cause mistake or to deceive customers regarding the goods
   9 advertised and sold by BIM.
  10         46.    As such, BIM’s trademark infringement violates 15 U.S.C. § 1114(1)(a).
  11         47.    BIM’s actions have caused, and unless restrained by the Court, will continue
  12 to cause, serious and irreparable injury to PIP and the goodwill associated with its BOSS®
  13 Marks.
  14         48.    BIM’s trademark infringement is willful, and damages should be trebled as
  15 permitted by applicable law.
  16         49.    BIM’s actions have caused damages to PIP in an amount to be proven at trial.
  17          COUNT II – FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))
  18         50.    The allegations set forth in the foregoing paragraphs 1 through 49 are
  19 incorporated into this Second Claim for Relief.
  20         51.    BIM’s actions, described above, constitute use of a false designation of origin
  21 in commerce in connection with the sale and advertising of goods. Such use is likely to
  22 cause confusion or to cause mistake or to deceive as to the origin, sponsorship, or approval
  23 of the goods advertised and sold by BIM.
  24         52.    As such, BIM’s use of PIP’s BOSS® Marks in commerce constitutes false
  25 designation of origin and violates 15 U.S.C. § 1125.
  26         53.    BIM’s actions have caused, and unless restrained by the Court, will continue
  27 to cause, serious and irreparable injury to PIP and the goodwill associated with PIP’s
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             COMPLAINT FOR TRADEMARK INFRINGEMENT AND FALSE DESIGNATION OF ORIGIN
Case 8:23-cv-00095-DOC-KES Document 1 Filed 01/13/23 Page 15 of 18 Page ID #:15




   1 BOSS® Marks.
   2         54.    BIM’s engagement in false designation of origin is willful, and damages
   3 should be trebled as permitted by applicable law.
   4         55.    BIM’s actions have caused damages to PIP in an amount to be proven at trial.
   5                                         JURY DEMAND
   6         Pursuant to Rule 38 of the Federal Rules of Civil Procedure, PIP demands a trial by
   7 jury on all issues triable as such.
   8                                       PRAYER FOR RELIEF
   9         WHEREFORE, PIP demands judgment for itself and against BIM as follows:
  10         A.     An adjudication that BIM has infringed the mark with U.S. Registration No.
  11 114,219;
  12         B.     An adjudication that BIM has infringed the mark with U.S. Registration No.
  13 189,372;
  14         C.     An adjudication that BIM has infringed the mark with U.S. Registration No.
  15 210,819;
  16         D.     An adjudication that BIM has infringed the mark with U.S. Registration No.
  17 570,011;
  18         E.     An adjudication that BIM has infringed the mark with U.S. Registration No.
  19 1,221,513;
  20         F.     An adjudication that BIM has infringed the mark with U.S. Registration No.
  21 1,245,859;
  22         G.     An adjudication that BIM has infringed the mark with U.S. Registration No.
  23 1,146,594;
  24         H.     An adjudication that BIM has infringed the mark with U.S. Registration No.
  25 1,718,343;
  26         I.     An adjudication that BIM has infringed the mark with U.S. Registration No.
  27 1,974,576;
  28
                                                  15
             COMPLAINT FOR TRADEMARK INFRINGEMENT AND FALSE DESIGNATION OF ORIGIN
Case 8:23-cv-00095-DOC-KES Document 1 Filed 01/13/23 Page 16 of 18 Page ID #:16




   1          J.     An adjudication that BIM’s infringement of the mark with U.S. Registration
   2 No. 114,219 was willful;
   3          K.     An adjudication that BIM’s infringement of the mark with U.S. Registration
   4 No. 189,372 was willful;
   5          L.     An adjudication that BIM’s infringement of the mark with U.S. Registration
   6 No. 210,819 was willful;
   7          M.     An adjudication that BIM’s infringement of the mark with U.S. Registration
   8 No. 570,011 was willful;
   9          N.     An adjudication that BIM’s infringement of the mark with U.S. Registration
  10 No. 1,221,513 was willful;
  11          O.     An adjudication that BIM’s infringement of the mark with U.S. Registration
  12 No. 1,245,859 was willful;
  13          P.     An adjudication that BIM’s infringement of the mark with U.S. Registration
  14 No. 1,146,594 was willful;
  15          Q.     An adjudication that BIM’s infringement of the mark with U.S. Registration
  16 No. 1,718,343 was willful;
  17          R.     An adjudication that BIM’s infringement of the mark with U.S. Registration
  18 No. 1,974,576 was willful;
  19          S.     An adjudication that BIM’s infringement of PIP’s BOSS® Marks constitutes
  20 false designation of origin;
  21          T.     An adjudication that BIM’s false designation of origin was willful;
  22          U.     An award of damages to be paid by BIM adequate to compensate PIP for its
  23 past infringement of the BOSS® Marks and any continuing or future infringement through
  24 the date such judgment is entered, including interest, costs, expenses, and an accounting of
  25 all infringing acts including, but not limited to, those acts not presented at trial;
  26          V.     An award of damages to be paid by BIM adequate to compensate PIP for its
  27 past false designation of origin and any continuing or future false designation of origin
  28
                                                     16
              COMPLAINT FOR TRADEMARK INFRINGEMENT AND FALSE DESIGNATION OF ORIGIN
Case 8:23-cv-00095-DOC-KES Document 1 Filed 01/13/23 Page 17 of 18 Page ID #:17




   1 through the date such judgment is entered, including interest, costs, expenses, and an
   2 accounting of all acts of false designation of origin including, but not limited to, those acts
   3 not presented at trial;
   4         W.           That a permanent injunction be issued enjoining BIM and its agents, servants,
   5 employees, attorneys, and all persons in active concert or participation with them:
   6                 i.      From using the BOSS® Marks or any marks confusingly similar thereto in
   7                         connection with its products; and
   8                ii.      From using the BOSS® Marks or from otherwise infringing the BOSS®
   9                         Marks; and
  10               iii.      From using the BOSS® Marks to falsely designate the origin of BIM’s
  11                         products.
  12         X.           That BIM be required to remove from use any websites, physical or electronic
  13 advertisements, collateral or promotional materials bearing the infringing marks;
  14         Y.           A declaration that this case is exceptional under 15 U.S.C. § 1117, and an
  15 award of PIP’s reasonable attorneys’ fees;
  16         Z.           A declaration that the monetary award to PIP be increased and trebled based
  17 on willful infringement pursuant to 15 U.S.C. § 1117;
  18         AA.          That the Court find this case to be exceptional under federal and common law;
  19         BB.          For pre-judgment and post-judgment interest at the maximum legal rate;
  20         CC.          For attorneys’ fees and costs; and
  21         DD.          An award to PIP of such further relief at law or in equity, including injunctive
  22 relief barring further infringement, as the Court deems just and proper.
  23         //
  24         //
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             COMPLAINT FOR TRADEMARK INFRINGEMENT AND FALSE DESIGNATION OF ORIGIN
Case 8:23-cv-00095-DOC-KES Document 1 Filed 01/13/23 Page 18 of 18 Page ID #:18




       DATED: January 13, 2023         Ekwan E. Rhow
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  15                                         Attorneys for Plaintiff Protective Industrial
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            COMPLAINT FOR TRADEMARK INFRINGEMENT AND FALSE DESIGNATION OF ORIGIN
